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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MONTANA
                          MISSOULA DIVISION

TANYA GERSH,                            Case No. 9:17-cv-00050-DLC-JCL

      Plaintiff,
                                        PLAINTIFF’S RESPONSE TO
      vs.                               DEFENDANT’S PURPORTED
                                        “ERRATA” AND ACCOMPANYING
ANDREW ANGLIN, publisher of the         DECLARATION
Daily Stormer,

      Defendant.


      Defendant’s production shows nothing more than a tourist wandering

through Southeast Asia in 2017, with motorcycle rides through Laos, Thailand, and

Cambodia, extended visas to ease travel between them, and comfortable stays at

seemingly lavish yet affordable hotels. But it certainly does not show that

Defendant, a United States citizen, changed his domicile to any foreign country

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such that he can escape this Court’s jurisdiction. In his fourth submission

challenging this Court’s subject matter jurisdiction, Defendant fails again to

produce objective evidence of a change in domicile to defeat Plaintiff’s proof of

his Ohio domicile.

                         SUMMARY OF ARGUMENT

      Defendant again admits he was, at least at one point, domiciled in Ohio. The

law is well settled that he does not lose his Ohio domicile until he establishes a

new one elsewhere—however much he disowns Ohio today and however long he

dubiously claims it has been since he was last there. Defendant has failed to

produce the substantial evidence necessary to show, as he asserts, he lost his

United States domicile by establishing new ones in the Philippines, Greece, and

Cambodia by being physically present there with an intent to remain permanently

or indefinitely.

      Defendant has produced nothing to show he lawfully could have remained in

the Philippines, Greece, or Cambodia indefinitely, much less permanently.

Defendant’s uncorroborated assertions about intent and employment simply are

insufficient, especially when his other assertions, such as the assertion that he

purchased a motorcycle and stayed in a hotel in Cambodia, describe conduct that is

more typical of a traveler than of a permanent resident who has established a fixed

abode. In fact, the very “excerpts” of his passport that he selectively produced and



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partially redacted show no more than that he visited Cambodia as a tourist. Over a

span of just months, he visited Thailand, Laos, and Cambodia on temporary

nonimmigrant visas with fixed departure dates, and entered Cambodia on a one-

month nonimmigrant visa a mere four days before Plaintiff filed her complaint.

      In all, Defendant spent a total of just four months and four days in Cambodia

before departing from an international airport in August. Defendant has now been

absent from Cambodia for more than five months, which is longer than the short

time he was present there. This timeline undermines Defendant’s self-serving

assertion that he arrived in Cambodia intending to remain there indefinitely,

especially given that Defendant has been spotted at least twice in Columbus, Ohio,

including as recently as seven days ago.

      Defendant’s motion to dismiss for lack of subject matter jurisdiction should

be denied.

                                  ARGUMENT

I.    Legal Standard

      Defendant is domiciled where he “has established a ‘fixed habitation or

abode in a particular place, and [intends] to remain there permanently or

indefinitely.’” Lew v. Moss, 797 F.2d 747, 749–50 (9th Cir. 1986) (alteration in

original) (quoting Owens v. Huntling, 115 F.2d 160, 162 (9th Cir. 1940)). A “fixed

abode” is “a permanent home or place of residence.” Fixed Abode, Black’s Law



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Dictionary (10th ed. 2014). “Indefinitely” means “for a time to which [Defendant]

did not then contemplate an end.” Williamson v. Osenton, 232 U.S. 619, 625

(1914); accord Indefinitely, Black’s Law Dictionary (10th ed. 2014) (“For a length

of time with no definite end.”).

      Defendant’s “old domicile is not lost until a new one is acquired,” Lew, 797

F.2d at 750, and “courts have created a presumption in favor of an established

domicile as against a newly acquired one,” id. at 751. His “[m]ere absence” from

his place of domicile “however long continued, cannot work the change.” Mintzis

v. Scott, No. 2:14-cv-01799, 2014 WL 3818104, at *5 (C.D. Cal. July 30, 2014)

(quoting Mitchell v. United States, 88 U.S. 350, 353 (1874)). Nor, in fact, can his

mere “depart[ure] from his state of domicile intending never to return.” Carter v.

McConnel, 576 F. Supp. 556, 558 (D. Nev. 1983).

      Defendant bears a burden of production to “present substantial evidence to

support his contention that his domicile had changed.” Lew, 797 F.2d at 752. He

must show with objective facts “the confluence of (a) physical presence at the new

location with (b) an intention to remain there indefinitely.” Id. at 750.

      Defendant must produce “[m]ore evidence” “to establish a change of

domicile from one nation to another than from one state to another.” Strabala v.

Zhang, 318 F.R.D. 81, 104 (N.D. Ill. 2016) (quoting Maple Island Farm v.

Bitterling, 196 F.2d 55, 59 (8th Cir. 1952)). His uncorroborated declarations


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concerning domicile are insufficient, see Branon v. Debus, 289 F. App’x 181, 183

(9th Cir. 2008), and “should be treated with some skepticism,” McNatt v. Allied-

Signal, Inc., 972 F.2d 1340, *4 (9th Cir. 1992). Defendant’s “statements of intent

are entitled to little weight when in conflict with facts.” Lew, 797 F.2d at 750

(quoting Freeman v. Nw. Acceptance Corp., 754 F.2d 553, 556 (5th Cir. 1985)).

And even if corroborated, his mere residence or employment in a place is

insufficient to establish a new domicile there. See Kanter v. Warner-Lambert Co.,

265 F.3d 853, 857 (9th Cir. 2001) (residence); McNatt, 972 F.2d at *4

(employment). Nor can Defendant form the requisite intent to remain indefinitely

in a foreign country if his presence there is authorized only by a temporary

nonimmigrant visa with a fixed expiration date. See, e.g., Elkins v. Moreno, 435

U.S. 647, 665–66 (1978); Carlson v. Reed, 249 F.3d 876, 880 (9th Cir. 2001).

      Because Defendant’s relevant domicile is the one he had on April 18, 2017,

the day Plaintiff filed her complaint, see Lew, 797 F.2d at 750, post-filing evidence

introduced to disprove diversity should be accorded little to no weight, see

Strabala, 318 F.R.D. at 98. Once “the jurisdictional requisites are present when the

action begins, subsequent events will not ordinarily defeat the district court’s

jurisdiction.” Hill v. Rolleri, 615 F.2d 886, 889 (9th Cir. 1980). Defendant’s post-

filing evidence is “more likely to show a post-filing attempt by [Defendant] to




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[avoid] jurisdiction rather than a bona fide pre-existing intent regarding his

domicile.” Strabala, 318 F.R.D. at 98.


II.    Defendant Was Domiciled in Ohio

       Defendant again admits his last domicile in the United States was in Ohio,

which explains why he voted in the 2016 General Election by absentee ballot in

Franklin County, Ohio. See Anglin Decl. ¶ 20, ECF 64-1; see also Reply at 10, 12,

ECF 59. Plaintiff’s response corroborated this fact with undisputed objective

evidence. See Resp. at 5–8, ECF 50. To this day, Defendant maintains the business,

familial, and civic ties to Ohio that he had before Plaintiff filed. See id.; see also

Moonbase Holdings Agent Address Change, Ex. A. He also might currently be in

Ohio, see Huffington Post Article, Ex. B (Jan. 2018); Cremeans Decl., ECF 50-22

(Dec. 2017); Video, Reply Ex. 6, ECF 59-6 (same), which suggests he always

intended to return to Ohio even while traveling abroad. Defendant therefore is

presumed a domiciliary of Ohio until shown otherwise. See Lew, 797 F.2d at 751.


III.   Defendant Did Not Lose His Ohio Domicile

       Defendant’s declaration falls far short of the “substantial evidence” needed

“to support his contention that his domicile had changed from” Ohio to the

Philippines, Greece, Cambodia, or anywhere else. Id. at 752. Defendant’s

declaration boils down to uncorroborated assertions about intent to remain in those



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countries “permanently,” Anglin Decl. ¶¶ 21–22, 26, ECF 64-1, an uncorroborated

assertion about employment in Greece, see id. ¶ 24, an uncorroborated assertion

about living in a hotel in Cambodia, see id. ¶ 27,1 and an uncorroborated assertion

about the purchase of a motorcycle in Cambodia, see id. ¶ 28. He also appends five

partially redacted and selective “excerpts” of his passport, which merely purport to

show physical presence in certain countries on certain dates and permission to stay

for limited periods of time on nonimmigrant visas. See Anglin Decl. Ex. A,

ECF 64-1.

        Had Defendant truly moved to the Philippines, Greece, or Cambodia with

his stated intention to make the country his permanent home, see, e.g., Anglin

Decl. ¶ 25, ECF 64-1, this Court would reasonably expect a whole host of evidence

that is entirely absent from his submissions. For example, Defendant would be able

to produce evidence of his residence, personal and real property, brokerage and

bank accounts, spouse and family, membership in unions and other organizations,

employment or business, driver’s license and automobile registration, and payment

of taxes. See Lew, 797 F.2d at 750.

        This dearth of evidence can be explained by Defendant’s actual and legal

inability to intend to stay in those countries permanently or indefinitely.

Defendant’s temporary nonimmigrant visa status in each country prevented him


1
    See also Damnak Villa Boutique, Ex. C.

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from staying indefinitely and thus prevented him from forming the requisite

intention to stay indefinitely. See, e.g., Elkins, 435 U.S. at 665–66; Carlson, 249

F.3d at 880. Defendant has failed again to show a change in domicile by the time

Plaintiff filed her complaint.


      A.     Defendant Did Not Lose His Ohio Domicile Simply by Leaving

      Defendant seems to suggest he lost his Ohio domicile sometime “[b]efore

2010” by leaving the state “with no intent to live there permanently again,” Anglin

Decl. ¶ 7, ECF 64-1, purportedly visiting shortly only a few times before 2010, see

id. ¶ 8, purportedly leaving for the last time in July 2013, see id. ¶ 10, and

purportedly never returning since, see id. But see Cremeans Decl., ECF 50-22

(Dec. 2017); Video, Reply Ex. 6, ECF 59-6 (same); Daily Stormer Article at *10,

Ex. D (Feb. 2017); Huffington Post Article, Ex. B (circa 2015; Jan. 2018). 2 But

even assuming Defendant left Ohio honestly intending never to return, that alone

does not destroy his Ohio domicile for purposes of diversity jurisdiction. See

Carter, 576 F. Supp. at 558. And Defendant’s “[m]ere absence from” Ohio,

“however long continued, cannot work the change.” Mintzis, 2014 WL 3818104, at

*5. Thus, Defendant’s litany of denials about his current lack of ties to Ohio, see




2
 Pinpoint citations preceded by an asterisk refer to the page number generated by
ECF.

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Anglin Decl. ¶¶ 10–19, ECF 64-1, even if true, are insufficient to show he lost his

Ohio domicile by establishing domicile in some other country.


      B.    Defendant Did Not Change His Domicile to the Philippines

      Defendant’s mere self-serving assertion, uncorroborated by objective facts,

that he “took up residency” in the Philippines “[b]efore 2010” with the intention to

remain permanently, id. ¶ 21, is insufficient to show he established a new domicile

there, see Branon, 289 F. App’x at 183, and this Court should regard it with

skepticism, see McNatt, 972 F.2d at *4. Defendant’s pre-2013 passport would at

best meet only half his burden by suggesting physical presence in the Philippines;

it could not on its own objectively show Defendant’s asserted intent to remain

permanently. Defendant has not even asserted that he qualified for and received a

visa that would have permitted him to reside in the Philippines permanently or at

least indefinitely. Defendant’s declaration thus fails to support a change in

domicile from Ohio to the Philippines.


      C.    Defendant Did Not Change His Domicile to Greece

      Defendant’s suggestion of domicile in Greece should be treated with similar

skepticism. Defendant asserts without corroboration that he moved to Greece in

2013 with the intent to live there permanently, see Anglin Decl. ¶ 22, ECF 64-1,

and attempts to objectively show this intent with only the uncorroborated assertion



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that he worked in Greece as a tour guide, see id. ¶ 24. Yet even if corroborated,

employment alone is insufficient to show a change in domicile. See McNatt, 972

F.2d at *4.

      Further undermining Defendant’s asserted intent to make Greece his new

home, he admits he was advised to enroll in an academic program in Greece to

obtain the most useful visa but declined to do so. See Anglin Decl. ¶¶ 23–24,

ECF 64-1; cf. Jes Solar Co. v. Matinee Energy, Inc., No. CV 12-626, 2015 WL

10939972, at *10 (D. Ariz. Mar. 30, 2015) (holding defendant evidenced an intent

not to change domicile to South Korea because he decided to remain on temporary

nonimmigrant visa instead of readily securing permanent immigrant status).3

Defendant does not even assert that he received a visa permitting him to live and

work in Greece indefinitely, much less one that would have permitted him to

consider Greece his permanent home. Defendant’s declaration similarly fails to

support a change in domicile from Ohio to Greece.


      D.      Defendant Did Not Change His Domicile to Cambodia

      Finally, Defendant’s affirmative assertion of domicile in Cambodia also is

insufficient. See Anglin Decl. ¶ 30, ECF 64-1. Fatally for Defendant, he entered

Cambodia on a mere one-month nonimmigrant visa only four days before Plaintiff

3
  Defendant’s assertion that he visited the Greek Consulate General in Chicago,
Illinois, see Anglin Decl. ¶ 23, ECF 64-1, is telling because that office has
jurisdiction over Ohio, see Greek Consulate General in Chicago at *2, Ex. E.

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filed her complaint, see id. ¶ 26; Anglin Decl. Ex. A at *10, ECF 64-1, which is

hardly enough to objectively show that he established a fixed habitation or abode

there with an intention to remain indefinitely.

      Most telling is Defendant’s unexplained decision not to disclose the Laotian

visa he acquired just two days before he acquired the extended, yet still temporary,

nonimmigrant Cambodian visa that he now attempts to use to evidence an intention

to remain in Cambodia permanently. Defendant redacted without explanation

almost all of the stamps he received upon entering and departing Laos on May 3

and 4 respectively, see Anglin Decl. Ex. A at *9 (unredacted), *10 (redacted),

ECF 64-1, and excluded from his passport excerpts the full Laotian visa he

received on or about May 3, 2017, see id. at *11.4 This deliberate evasiveness cuts

strongly against Defendant’s post hoc asserted intention to remain in Cambodia

permanently.

      With these missing puzzle pieces, Defendant’s passport reveals nothing

more than a tourist wandering through Southeast Asia, acquiring extended yet

temporary nonimmigrant visas to facilitate his travel around the region, and finally

departing from an international airport more than five months ago. In all, at least

according to the portions of his passport that he submitted, Defendant spent just

4
   Quick Google image searches suggest that the redacted stamps (and the
unredacted, partially visible stamp) and partially visible visa are Laotian. Compare
infra Figures 1, 8, 10, with, for example, Laotian Passport Stamps at *4, Ex. G, and
compare infra Figure 9, with, for example, Laotian Visa at *2, Ex. H.

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four months and four days in Cambodia—only four of which were before Plaintiff

filed her complaint.

                                                    Figure 1
                                                    On January 27, Defendant
                                                    entered Laos on a 30-day
                                                    visa. See Anglin Decl. Ex. A at
                                                    *8, ECF 64-1 (redaction in
                                                    original).




                                                    Figure 2
                                                    On January 30, Defendant
                                                    received a 60-day Thai tourist
                                                    visa, marked “Employment
                                                    Prohibited” and later marked
                                                    “USED,” from the Thai
                                                    embassy in Vientiane, Laos.
                                                    See Anglin Decl. Ex. A at *9,
                                                    ECF 64-1; see also Thai
                                                    Tourist Visa at *3, Ex. F
                                                    (“Period of stay: not exceeding
                                                    60 days”).




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                                               Figure 3
                                               On January 31, Defendant
                                               departed Laos. See Anglin
                                               Decl. Ex. A at *8, ECF 64-1
                                               (redaction in original).




                                               Figure 4
                                               On January 31, Defendant
                                               entered Thailand on a 60-day
                                               tourist visa. See Anglin Decl.
                                               Ex. A at *8, ECF 64-1.




                                               Figure 5
                                               On March 29, Defendant
                                               departed Thailand. See Anglin
                                               Decl. Ex. A at *8, ECF 64-1.




                                               Figure 6
                                               On April 14, Defendant
                                               entered Cambodia on a one-
                                               month visa through the
                                               Trapeang Kreal border with
                                               Laos. See Anglin Decl. Ex. A
                                               at *10, ECF 64-1.




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                                               Figure 7
                                               On May 3, Defendant
                                               departed Cambodia through
                                               the Trapeang Kreal border
                                               with Laos. See Anglin Decl.
                                               Ex. A at *10, ECF 64-1.




                                               Figure 8
                                               On May 3, Defendant entered
                                               Laos on a 30-day visa. See
                                               Anglin Decl. Ex. A at *10,
                                               ECF 64-1 (redaction in
                                               original).




                                               Figure 9
                                               On or about May 3, Defendant
                                               received a Laotian visa. See
                                               Anglin Decl. Ex. A at *11,
                                               ECF 64-1 (rotated 180
                                               degrees).

                                               Figure 10
                                               On May 4, Defendant
                                               departed Laos. See Anglin
                                               Decl. Ex. A at *9–10, ECF 64-
                                               1 (redaction in original).




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                                                         Figure 11
                                                         On May 4, Defendant
                                                         reentered Cambodia on a one-
                                                         month visa through the
                                                         Trapeang Kreal border with
                                                         Laos. See Anglin Decl. Ex. A
                                                         at *12, ECF 64-1.




                                                         Figure 12
                                                         On May 5, Defendant
                                                         extended his Cambodian visa
                                                         for only seven months. See
                                                         Anglin Decl. Ex. A at *11,
                                                         ECF 64-1 (redaction in
                                                         original).




                                                         Figure 13
                                                         On August 19, Defendant
                                                         departed Cambodia from the
                                                         Siem Reap international
                                                         airport. See Anglin Decl. Ex. A
                                                         at *12, ECF 64-1.




      Defendant nonetheless attempts to provide objective evidence of domicile in

Cambodia only by asserting without corroboration that he lived in a Cambodian

hotel, see Anglin Decl. ¶ 27, ECF 64-1, and at some unidentified point purchased a

motorcycle that he still owns and that he entrusted to an unidentified individual at

the hotel, see id. ¶¶ 28–29. But even if corroborated, Defendant describes himself



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as behaving no differently from the millions of tourists in Southeast Asia visiting

on temporary nonimmigrant visas, exploring the region on motorcycles, and

staying at hotels without intending to make any of those countries their new home.

      The temporary nature of Defendant’s housing and visa are “especially

indicative of [his] intent not to reside permanently in” Cambodia. Strabala, 318

F.R.D. at 106. An eight-room hotel intended for travelers, see Damnak Villa

Boutique at *2, *4, Ex. C, certainly is not “a permanent home or place of

residence,” Fixed Abode, Black’s Law Dictionary (10th ed. 2014). And all of

Defendant’s visits to Cambodia in 2017 were authorized by temporary

nonimmigrant visas with fixed dates of departure, see supra Figures 6, 11, as were

his visits to Thailand, see supra Figures 2, 4, and Laos, see supra Figures 1, 8. In

fact, Defendant did leave Cambodia before the expiration of his temporary visas:

He first left on May 3 before the expiration of his initial temporary visa on May 14.

See supra Figures 6–7. He left again on August 19, nearly four months before the

expiration of his other temporary visa. See supra Figures 12–13. Defendant’s

declaration and passport excerpts also fail to support a change in domicile from

Ohio to Cambodia.

                                  *      *       *

      No matter how much Defendant honestly intends and declares to abandon

Ohio as his home, the test for domicile for purposes of this Court’s diversity


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jurisdiction is well-settled: Defendant maintains his Ohio domicile until he

establishes a new one elsewhere, as evidenced by substantial objective facts. That

he did not do before Plaintiff filed her complaint. This Court has diversity

jurisdiction.

                                 CONCLUSION

      For the foregoing reasons, Defendant’s motion to dismiss for lack of subject

matter jurisdiction should be denied.



DATED January 29, 2018.                  Respectfully submitted.


                                         /s/ David C. Dinielli
                                         David C. Dinielli
                                         Attorney for Plaintiff Tanya Gersh
                                         on behalf of all Attorneys for Plaintiff

                                         /s/ John Morrison
                                         John Morrison
                                         Attorney for Plaintiff Tanya Gersh
                                         on behalf of all Attorneys for Plaintiff




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                                EXHIBIT INDEX

Ex.     Short Descriptor    Citation
A       Moonbase            Ohio Secretary of State, Moonbase Holdings, LLC,
        Holdings Agent      Agent Address Change Certificate (No.
        Address Change      201801700160) (effective Jan. 16, 2018)
B       Huffington Post     Luke O’Brien, Andrew Anglin’s Lawyer Visited the
        Article             Elusive Nazi’s Hometown and Madness Ensued,
                            Huffington Post (Jan. 25, 2018, 6:17 PM ET),
                            https://www.huffingtonpost.com/entry/nazi-andrew-
                            anglin-lawyer-mark-
                            randazza_us_5a6a3622e4b0ddb658c4a36b (last
                            visited Jan. 26, 2018)
C       Damnak Villa        Damnak Villa Boutique,
        Boutique            http://www.damnakvilla.com/index.php (last visited
                            Jan. 23, 2018)
D       Daily Stormer       Andrew Anglin, The Atlantic’s Luke O’Brien
        Article             Launches Campaign of Harassment to Shut Down
                            Speech of Political Activist, Daily Stormer (Mar. 10,
                            2017), https://dailystormer.red/the-atlantics-luke-
                            obrien-launches-campaign-of-harassment-to-shut-
                            down-speech-of-political-activist/ (last visited Jan. 24,
                            2018).
E       Greek Consulate     General Information, Greek Consulate General in
        General in          Chicago, http://www.mfa.gr/usa/en/consulate-general-
        Chicago             in-chicago/about-us/general-information.html (last
                            visited Jan. 23, 2018)
F       Thai Tourist Visa   Tourist Visa Category “TR” Single, Royal Thai
                            Embassy, http://thaiembdc.org/consular-
                            services/tourist-visas/category-tr/ (last visited Jan. 25,
                            2018)
G       Laotian Passport    Laos Visa Guide, A Mary Road,
        Stamps              https://amaryroad.com/laos-visa-complete-guide/ (last
                            visited Jan. 23, 2018)




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Ex.     Short Descriptor   Citation
H       Laotian Visa       Laos Visa, Laos Tourist,
                           http://www.laostourism.org/laos-visa/ (last visited
                           Jan. 23, 2018)




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                            CERTIFICATE OF SERVICE

      I hereby certify that on this date the foregoing document was filed through

the Court’s CM/ECF filing system, and by virtue of this filing notice will be sent

electronically to all counsel of record, including:

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on this January 29, 2018.
                                           /s/ David C. Dinielli
                                           David C. Dinielli
                                           Attorney for Plaintiff Tanya Gersh




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